                                                      Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 1 of 22



                                         1   Damien J. Marshall (pro hac vice forthcoming)
                                                dmarshall@bsfllp.com
                                         2   BOIES SCHILLER FLEXNER LLP
                                             55 Hudson Yards, 20th Floor
                                         3   New York, NY 10001
                                             Telephone:   (212) 446-2300
                                         4   Facsimile:   (212) 446-2350

                                         5   Mark C. Mao (SBN 236165)
                                                mmao@bsfllp.com
                                         6   Matthew Chou (SBN 325199)
                                                mchou@bsfllp.com
                                         7   BOIES SCHILLER FLEXNER LLP
                                             44 Montgomery Street, 41st Floor
                                         8   San Francisco, CA 94104
                                             Telephone:    (415) 293-6800
                                         9   Facsimile:    (415) 293-6899
L L P




                                        10   Menno Goedman (SBN 301271)
                                                mgoedman@bsfllp.com
                                        11   BOIES SCHILLER FLEXNER LLP
F L E X N E R




                                             1401 New York Avenue, N.W.
                  D . C .




                                        12   Washington, D.C. 20005
                                             Telephone:   (202) 237-2727
                                        13   Facsimile:   (202) 237-6131
                  W A S H I N G T O N




                                        14   Attorneys for Plaintiffs Ripple Labs Inc.
S C H I L L E R




                                             and Bradley Garlinghouse
                                        15

                                        16                                 UNITED STATES DISTRICT COURT

                                        17                               NORTHERN DISTRICT OF CALIFORNIA
B O I E S




                                        18   RIPPLE LABS INC., a Delaware corporation;       No. 3:20-cv-02747
                                             and BRADLEY GARLINGHOUSE,
                                        19   an individual,
                                                                                             COMPLAINT FOR:
                                        20                                 Plaintiffs,
                                                                                               (1) Violations of the Lanham Act for
                                        21                  v.                                     Trademark Infringement
                                        22   YOUTUBE, L.L.C., a Delaware company               (2) Violations of California’s Statutory
                                                                                                   and Common Law Right of
                                        23                                 Defendant.              Publicity
                                        24                                                     (3) Violations of California’s Unfair
                                                                                                   Competition Law
                                        25
                                                                                             DEMAND FOR JURY TRIAL
                                        26

                                        27

                                        28


                                                                                         COMPLAINT
                                                          Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 2 of 22




                                         1                                              INTRODUCTION

                                         2           Plaintiffs Ripple Labs Inc. and Bradley Garlinghouse, by and through their attorneys, bring this

                                         3 Complaint against Defendant YouTube, L.L.C. for injunctive relief and damages. Plaintiffs allege as

                                         4 follows:

                                         5           1.      Over the past several months, Ripple and Mr. Garlinghouse have suffered—and continue

                                         6 to suffer—irreparable harm to their public image, brand, and reputation as a direct consequence of

                                         7 YouTube’s deliberate and inexplicable failure to address a pervasive and injurious fraud occurring on its

                                         8 platform.

                                         9           2.      This fraud—often and dubiously named “the XRP 1 Giveaway” (the “Scam”)—is a third-

                                        10 party attack on Ripple’s brand, Mr. Garlinghouse’s reputation, and XRP holders worldwide. To be sure,
L L P




                                        11 the Scam—a pervasive and extended course of conduct detailed in the allegations that follow—often
F L E X N E R




                                        12 relies upon spear phishing attacks, hacked YouTube accounts, and the misappropriation of Mr.
                  D . C .




                                        13 Garlinghouse’s likeness and Ripple marks. But it also depends on, and thrives because of, YouTube’s
                  W A S H I N G T O N




                                        14 complacency and unwillingness to take seriously Ripple’s repeated demands for action.
S C H I L L E R




                                        15           3.      The Scam has been replicated many times over by numerous, unidentified bad actors.

                                        16 Each day that passes brings new iterations of the same essential Scam, each of which leaves countless

                                        17 victims in its wake. While Plaintiffs cannot know the precise number of defrauded individuals, the
B O I E S




                                        18 scope of the harm is vast. Millions of people have viewed the Scam. A single instance of the Scam

                                        19 reportedly resulted in $15,000 of stolen XRP. To date, Plaintiffs believe and allege that the Scam has

                                        20 defrauded victims out of millions of XRP valued at hundreds of thousands of dollars.

                                        21           4.      The Scam has also irreparably harmed Ripple’s brand and Mr. Garlinghouse’s reputation.

                                        22 By infringing on Ripple’s protected trademarks and misappropriating Mr. Garlinghouse’s image and

                                        23 likeness, the Scam fosters the false belief that Ripple and Mr. Garlinghouse are somehow associated

                                        24 with or to blame for the Scam (they are not), and introduces profound uncertainty and confusion into the

                                        25 broader digital asset market.

                                        26           5.      Ripple has repeatedly demanded that YouTube take action to stop the Scam and prevent

                                        27 further harm. Yet YouTube refuses, even where the same scheme is replicated time and again on its
                                               1
                                        28         XRP is the digital asset native to the XRP Ledger, an open-source, distributed-ledger technology.
                                                                                              1
                                                                                          COMPLAINT
                                                         Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 3 of 22




                                         1 platform. YouTube’s response has been woefully inadequate and incomplete. As a result, Ripple and

                                         2 Mr. Garlinghouse continue to suffer substantial reputational harm.

                                         3         6.       YouTube can—and must—do better. YouTube regularly touts its robust tools for self-

                                         4 regulating content on its platform, which purportedly include “cutting-edge machine learning

                                         5 technology” and a sprawling network of human reviewers. But in this case, faced with a pervasive

                                         6 Scam, YouTube chose, and continues to choose, inaction.

                                         7         7.       YouTube’s inaction undermines its public commitments. YouTube’s Community

                                         8 Guidelines purport to ban “scams,” which are defined as “[c]ontent offering cash gifts, ‘get rich quick’

                                         9 schemes, or pyramid schemes[.]” Ex. 1. As an example of an impermissible “scam,” YouTube cites

                                        10 content that “make[s] exaggerated promises, such as claims that viewers can get rich fast.” Id.
L L P




                                        11 YouTube’s Community Guidelines thus bar precisely the sort of content at issue in this case. Yet
F L E X N E R




                                        12 YouTube has ignored Ripple’s repeated demands for action and instead enabled the Scam to flourish.
                  D . C .




                                        13         8.       Not only has YouTube failed to stop the Scam, YouTube has also substantially assisted it.
                  W A S H I N G T O N




                                        14         9.       First, YouTube has profited from the Scam by aiding and abetting the scammers.
S C H I L L E R




                                        15 YouTube, after it was informed about the Scam on countless occasions, sold and helped the scammers

                                        16 disseminate advertisements—so-called “video discovery ads”—to get more YouTube visitors to view

                                        17 and click on videos perpetuating the Scam. Ex. 2. Every such video posted on YouTube generates
B O I E S




                                        18 revenue by providing a vehicle through which YouTube can deliver Scam ads on behalf of the

                                        19 scammers. YouTube maintains its business by maximizing advertising revenue. It has succeeded:

                                        20 YouTube generated more than $15 billion in revenue last year through ads alone and is growing at a

                                        21 breakneck annual pace of about 36 percent. Ex. 3 at 29.

                                        22         10.      Second, YouTube has expressly (but falsely) validated the Scam as legitimate. By

                                        23 awarding a “verification badge” to a hacked channel that was impersonating Plaintiffs in furtherance of

                                        24 the Scam, YouTube communicated to hundreds of thousands of viewers and subscribers that the hacked

                                        25 account was “the official channel of a creator, artist, company, or public figure.” This was completely

                                        26 false and profoundly harmful.

                                        27         11.      YouTube’s refusal to take appropriate remedial action compels Ripple to seek relief from

                                        28 the Court. The Court should compel YouTube to fulfill its legal obligations, to discontinue its policy of
                                                                                             2
                                                                                         COMPLAINT
                                                         Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 4 of 22




                                         1 willful inaction, and to prevent further irreparable harm to Ripple’s brand and Mr. Garlinghouse’s

                                         2 reputation, which, in turn, will prevent further financial injury to the individuals who are duped by the

                                         3 Scam. Absent a court order obligating YouTube to act, the Scam will undoubtedly continue to flourish

                                         4 and create countless more victims.

                                         5                                                  PARTIES

                                         6         12.      Plaintiff Ripple Labs Inc. is a leading enterprise blockchain company founded on a

                                         7 simple but powerful idea: to enable financial institutions to instantly and reliably send money across

                                         8 borders for fractions of a penny. Ripple’s global payments network has over 300 enterprise customers

                                         9 across 40 countries. Ripple employs more than 450 individuals in nine global offices. Ripple is a

                                        10 Delaware corporation with its principal place of business in San Francisco, California.
L L P




                                        11         13.      Plaintiff Bradley Garlinghouse is the CEO of Ripple and resides in California.
F L E X N E R




                                        12         14.      Defendant YouTube is a Delaware limited liability company with its principal place of
                  D . C .




                                        13 business in San Bruno, California.
                  W A S H I N G T O N




                                        14                                              JURISDICTION
S C H I L L E R




                                        15         15.      The Court has federal question jurisdiction, pursuant to 28 U.S.C. § 1331, over Ripple’s

                                        16 first cause of action for contributory liability for trademark infringement in violation of the Lanham Act,

                                        17 15 U.S.C. § 1114(1).
B O I E S




                                        18         16.      The Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over Ripple’s

                                        19 second and third state law causes of action—for misappropriating the right of publicity and for violating

                                        20 California’s Unfair Competition Law—because each of these claims arises out of the same nucleus of

                                        21 operative fact as Ripple’s federal claim.

                                        22         17.      Venue is proper in the Northern District of California pursuant to 28 U.S.C. § 1391(b).

                                        23         18.      The Court has general personal jurisdiction over YouTube because the company’s

                                        24 principal place of business is at 901 Cherry Ave., San Bruno, California, 94066.

                                        25                                                   FACTS

                                        26         A.       Ripple’s success and the value of its marks.

                                        27         19.      Ripple was created in 2012 to realize its founders’ vision of a world where money can

                                        28 move as quickly and securely as information—a concept referred to as the Internet of Value.
                                                                                              3
                                                                                          COMPLAINT
                                                         Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 5 of 22




                                         1         20.      Ripple offers a suite of enterprise software products to make the Internet of Value a

                                         2 reality. These products facilitate interbank communications and transaction settlement, source liquidity

                                         3 for financial institutions, and offer a payment interface where corporations, payment providers, and

                                         4 banks can seamlessly and transparently make global payments. As of 2020, Ripple counts more than

                                         5 300 financial institutions as customers.

                                         6         21.      XRP is the digital asset native to the XRP Ledger, an open-source, distributed-ledger

                                         7 technology. Ripple’s customers can use XRP for sourcing liquidity in cross-border transactions, thereby

                                         8 ensuring instant settlement, lower exchange fees, and more efficient use of working capital.

                                         9         22.      Mr. Garlinghouse became CEO of Ripple in 2017. In this role, Mr. Garlinghouse serves

                                        10 as the public face of Ripple. He is a trusted and respected voice on Ripple and is a public thought leader
L L P




                                        11 on issues relating to financial technology and digital assets.
F L E X N E R




                                        12         23.      As Ripple has grown, so too has the value of Ripple’s brand. Ripple owns trademarks
                  D . C .




                                        13 that include, but are not limited to, “Ripple,” “Ripple Labs,” and the company’s distinctive triskelion
                  W A S H I N G T O N




                                        14 logo, which consists of three connected circles.
S C H I L L E R




                                        15         24.      These marks are registered as follows:

                                        16

                                        17
B O I E S




                                        18

                                        19               Serial: 86577810                       Serial: 85774758
                                                         Registration: 4850428                  Registration: 4453543
                                        20               Date: Nov. 10, 2015                    Date: Dec. 24, 2013
                                        21

                                        22

                                        23

                                        24
                                                         Serial: 86052926                        Serial: 86581262
                                        25               Registration: 4528771                   Registration: 4841452
                                                         Date: Aug. 30, 2013                     Date: Oct. 27, 2015
                                        26

                                        27

                                        28
                                                                                              4
                                                                                          COMPLAINT
                                                         Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 6 of 22




                                         1         25.      The terms “Ripple” and “Ripple Labs” are registered as standard character marks, such

                                         2 that the single word mark protects the phrase regardless of the font, size, or color used. The triskelion

                                         3 logo trademark is registered and protected without regard to color. All of Ripple’s registered trademarks

                                         4 are distinctive, non-functional, and have no secondary meaning.

                                         5         26.      Ripple’s brand and marks define its identity and are at the core of how the company

                                         6 represents itself to the public.

                                         7         B.       YouTube has the means to stop the Scam, but refuses to do so.

                                         8         27.      YouTube is a video-sharing platform that generates $15 billion in annual revenue,

                                         9 making it one of the internet’s largest publishers. YouTube’s primary source of revenue comes from

                                        10 selling ads to third parties. Although these ads come in several varieties, the source of revenue is
L L P




                                        11 essentially the same: YouTube profits from its users and creators.
F L E X N E R




                                        12         28.      YouTube enables its users to view, post, and comment on video content. All of this
                  D . C .




                                        13 occurs on YouTube’s platform, hosted at www.YouTube.com.
                  W A S H I N G T O N




                                        14         29.      YouTube “creators”—the term for users who post videos—can also set up their own
S C H I L L E R




                                        15 “channel,” which makes it easier for users to find all of a creator’s content in one place. These channels

                                        16 allow creators to develop a following. The most popular YouTube channels have amassed more than

                                        17 one hundred million subscribers worldwide. Because of this reach, YouTube is a valuable tool for
B O I E S




                                        18 reaching vast audiences.

                                        19         30.      YouTube has robust tools to self-regulate content on its platform. There is no doubt that

                                        20 YouTube is capable of identifying, flagging, and removing fraudulent content, including content similar

                                        21 to the kinds of videos at issue in the Scam. YouTube regularly touts these capabilities and, in particular,

                                        22 highlights its ability to use these tools to detect misleading and fraudulent scams. Ex. 4.

                                        23         31.      YouTube’s Community Guidelines purport to bar “scams” and “other deceptive practices

                                        24 that take advantage of the YouTube community.” Ex. 1. Included in YouTube’s definition of “scams”

                                        25 is “content offering cash gifts, ‘get rich quick’ schemes, or pyramid schemes (sending money without a

                                        26 tangible product in a pyramid structure).” Id. As an example of a prohibited scam, YouTube cites

                                        27 content that makes “exaggerated promises, such as claims that viewers can get rich fast,” promotes

                                        28
                                                                                              5
                                                                                          COMPLAINT
                                                                                                          Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 7 of 22




                                                                                          ³FDVKJLIWLQJRURWKHUS\UDPLGVFKHPHV´RULV³GHGLFDWHGWRFDVKJLIWLQJVFKHPHV´<RX7XEHFODLPV

                                                                                          IDOVHO\LWVHHPV WKDWLIFRQWHQWYLRODWHVWKLVSROLF\WKH\ZLOO³UHPRYHWKHFRQWHQW´ ,G

                                                                                                         ,Q<RX7XEH¶VRZQZRUGVLWXVHVDQGUHOLHVXSRQ³DFRPELQDWLRQRISHRSOHDQG

                                                                                          WHFKQRORJ\WRIODJLQDSSURSULDWHFRQWHQWDQGHQIRUFHWKHVHJXLGHOLQHV´([<RX7XEH¶VSHRSOH

                                                                                          LQFOXGH³RYHUDFDGHPLFVJRYHUQPHQWSDUWQHUVDQG1*2V´([$QGLWVWHFKQRORJLHVLQFOXGH

                                                                                          ³FXWWLQJHGJHPDFKLQHOHDUQLQJ´([

                                                                                                         <RX7XEHLVDOVRD³FRUHSURGXFW>@DQGSODWIRUP>@´RI*RRJOH([DWZKLFKHPSOR\V

                                                                                          D³JOREDOWHDPRIRYHUDKXQGUHG3K'VGDWDVFLHQWLVWVHQJLQHHUVDQGUHVHDUFKHUV´WKDW³FRQVWDQWO\

                                                                                          PRQLWRU>@DQGDQDO\]H>@WUDIILF´RQEHKDOIRI<RX7XEH([
% 2 , ( 6  6 & + , / / ( 5  ) / ( ; 1 ( 5  / / 3 




                                                                                                  &       7KH6FDPWKULYHVRQ<RX7XEH

                                                                                                        6LQFHDWOHDVW1RYHPEHUFHUWDLQSRSXODU<RX7XEHFUHDWRUVKDYHEHHQWDUJHWHGE\
                                                       : $ 6 + , 1 * 7 2 1  '  & 




                                                                                         VSHDUSKLVKLQJDWWDFNV7KHVHDWWDFNVZKHQVXFFHVVIXOHQDEOHWKHDWWDFNHUVWRWDNHFRQWURORISRSXODU

                                                                                         <RX7XEHDFFRXQWVDQGWKHLUFKDQQHOV7KHVHKDFNHGDFFRXQWVDUHRQHRIWKHZD\VWKURXJKZKLFKWKH

                                                                                         6FDPLVSHUSHWUDWHG

                                                                                                        2QHZLGHO\UHSRUWHGYHUVLRQ RIWKH6FDPSURFHHGVDVIROORZV

                                                                                        
                                                                                                x $OHJLWLPDWHDQGSRSXODU<RX7XEHFUHDWRU²RIWHQZLWKPDQ\WKRXVDQGVRIVXEVFULEHUV²LV
                                                                                                 WDUJHWHGYLDDQHPDLOVSHDUSKLVKLQJDWWDFN

                                                                                              x %\UHVSRQGLQJWRWKLVHPDLOWKHFUHDWRUXQNQRZLQJO\DQGXQLQWHQWLRQDOO\VKDUHVKLVRUKHU
                                                                                                   <RX7XEHFUHGHQWLDOVZLWKWKHDWWDFNHU
                                                                                         
                                                                                                x 7KHVHFUHGHQWLDOVDUHWKHQXVHGWRVWULSWKHFUHDWRU¶V<RX7XEHFKDQQHO V RILWVFRQWHQW
                                                                                        
                                                                                                    LQFOXGLQJDOOYLGHRV DQGWRWUDQVIRUPLWLQWRDFKDQQHOWKDWLPSHUVRQDWHV5LSSOH¶VDQGRU0U
                                                                                                 *DUOLQJKRXVH¶VRIILFLDOFKDQQHO)RUH[DPSOH

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        
                                                                                                
                                                                                                 $VDUHVXOWRI<RX7XEH¶VODFNRIFRRSHUDWLRQ3ODLQWLIIVKDYHEHHQXQDEOHWRYHULI\ZKHWKHUHDFK
                                                                                         LQVWDQFHRIWKH6FDP²RIZKLFKWKHUHDUHPDQ\²RFFXUUHGLQSUHFLVHO\WKHVDPHPDQQHU+RZHYHU
                                                                                            3ODLQWLIIVLQYHVWLJDWLRQWRGDWHVXJJHVWVWKDWHDFKLQVWDQFHRIWKH6FDPLVVXEVWDQWLDOO\VLPLODUWRDOOWKH
                                                                                         RWKHUV
                                                                                                                                                   
                                                                                                                                            &203/$,17
                                                                                                      Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 8 of 22




                                                                                         

                                                                                         

                                                                                         

                                                                                         

                                                                                         

                                                                                         

                                                                                         

                                                                                         

                                                                                         
% 2 , ( 6  6 & + , / / ( 5  ) / ( ; 1 ( 5  / / 3 




                                                                                                x %\XVLQJWKHKDFNHGFKDQQHOVWRLPSHUVRQDWHWKH³RIILFLDO´FKDQQHOVRI5LSSOHDQG0U
                                                                                        
                                                                                                   *DUOLQJKRXVHWKH<RX7XEHDFFRXQWVLQIULQJHXSRQ5LSSOH¶VSURWHFWHGWUDGHPDUNVLQFOXGLQJLWV
                                                                                                 ORJRDQGQDPH/LNHZLVHWKHVHDFFRXQWVPLVDSSURSULDWH0U*DUOLQJKRXVH¶VLPDJHQDPHDQG
                                                                                                   OLNHQHVV
                                                       : $ 6 + , 1 * 7 2 1  '  & 




                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                         

                                                                                         
                                                                                                                                            
                                                                                                                                        &203/$,17
                                                                                                         Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 9 of 22




                                                                                              x 7KHKDFNHGDFFRXQWVWKHQEHJLQWRUXQSXEOLFO\DYDLODEOHFRQWHQWUHODWHGWR5LSSOHRIWHQDQ
                                                                                                  LQWHUYLHZZLWK0U*DUOLQJKRXVHRURWKHUPHPEHUVRI5LSSOH¶VOHDGHUVKLSWHDP7KHVHYLGHRV
                                                                                         
                                                                                                  RIWHQSURPLQHQWO\GLVSOD\5LSSOH¶VSURWHFWHGWUDGHPDUNVLQFOXGLQJLWVORJRDQGQDPH
                                                                                         
                                                                                               x 6XSHULPSRVHGDFURVVWKHVHYLGHRVLVDPHVVDJHLQVWUXFWLQJYLHZHUVRQKRZWROHDUQPRUHDERXW
                                                                                                 WKHIDNH³JLYHDZD\´)RUH[DPSOHRQHPHVVDJHVWDWHG³'HWDLOV$ERXW7KH*LYHDZD\$UH,Q
                                                                                                  7KH'HVFULSWLRQ´
                                                                                         

                                                                                         

                                                                                         

                                                                                         

                                                                                         
% 2 , ( 6  6 & + , / / ( 5  ) / ( ; 1 ( 5  / / 3 




                                                                                        

                                                                                        
                                                                                                                                                                                        
                                                       : $ 6 + , 1 * 7 2 1  '  & 




                                                                                             x %HQHDWKWKHYLGHRWKHPHFKDQLFVRIWKH6FDPDUHGHVFULEHGLQJUHDWHUGHWDLO7R³SDUWLFLSDWH´LQ
                                                                                                WKH³*LYHDZD\´WKHYLHZHULVLQVWUXFWHG³WRVHQGEHWZHHQ;53WR;53´WRD
                                                                                                  VSHFLILFYLUWXDOFXUUHQF\ZDOOHWLQUHWXUQWKHSRVWSURPLVHVWKHVHQGHUZLOOUHFHLYH³EHWZHHQ
                                                                                                ;53WR;53WRWKHDGGUHVV\RXVHQWLWIURP´

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        
                                                                                               x $IWHUWKHYLFWLPVHQGV;53WRWKHVWDWHGDGGUHVVWKHLU;53LVJRQHDQGWKH\QHYHUUHFHLYH
                                                                                                DQ\WKLQJLQUHWXUQ7KH\EHFRPHDQRWKHUYLFWLPRIWKH6FDP([

                                                                                                       ,QDGGLWLRQWRVHUYLQJDVDSULPDU\SODWIRUPKRVWIRUWKH6FDP<RX7XEHKDVDOVR
                                                                                         VXEVWDQWLDOO\DVVLVWHGWKH6FDPDQGDFFHOHUDWHGLWVUHDFK

                                                                                        

                                                                                        

                                                                                        
                                                                                                                                             
                                                                                                                                         &203/$,17
                                                     Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 10 of 22




                                         1         37.    For example, YouTube profits from the Scam by knowingly selling paid ads on behalf of

                                         2 the fraudsters who are impersonating Ripple and Mr. Garlinghouse. These ads—so-called “video

                                         3 discovery ads”—are designed by YouTube to appear at the top of its search result page alongside

                                         4 organic search results. Such ads were presented to YouTube by the scammers, as ad units and creatives

                                         5 showing the fraud and pointing to the Scams, after YouTube was repeatedly informed of the schemes.

                                         6 YouTube then approved them, uploaded them, endorsed them, and optimized them to attract as many

                                         7 YouTube users and clicks as possible, based on its algorithms and search engine optimization

                                         8 techniques. These advertisements are presented to YouTube users who search for terms such as, among

                                         9 others, “Ripple” and “Brad Garlinghouse”:

                                        10
L L P




                                        11
F L E X N E R




                                        12
                  D . C .




                                        13
                  W A S H I N G T O N




                                        14
S C H I L L E R




                                        15         38.    When a YouTube user clicks on the ad, the user is taken directly to a YouTube channel
                                        16 running the Scam, usually some permutation of what is discussed herein. YouTube is paid to optimize

                                        17 the ads by revenue share. Here, YouTube sought to yield as many clicks as possible for the fraudsters,
B O I E S




                                        18 and to optimize its own revenue. YouTube thus knowingly aids the Scam and profits from it.

                                        19         39.    YouTube has also actively promoted the Scam through its use of “verification badges.”
                                        20         40.    Take the case of popular YouTube creator MarcoStyle, who at the time of the incident
                                        21 owned a channel with approximately 361,000 subscribers. MarcoStyle’s YouTube account was hacked

                                        22 on November 3, 2019. Ex. 9. Thereafter, the name of his YouTube channel was changed from

                                        23 “MarcoStyle” to “Edwinsyah,” and the channel’s profile image was modified to feature a picture of Mr.

                                        24 Garlinghouse. Several days later—with hackers still in control—YouTube inexplicably awarded the

                                        25 channel a verification badge, which YouTube purports to reserve for channels that are “authentic.” Ex.

                                        26 10. This one instance of the Scam resulted in at least $15,000 of stolen XRP.

                                        27

                                        28
                                                                                            9
                                                                                        COMPLAINT
                                                                                                      Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 11 of 22




                                                                                         

                                                                                         

                                                                                         

                                                                                         

                                                                                         

                                                                                         

                                                                                         

                                                                                         

                                                                                                       %\GRLQJVR<RX7XEHFRPPXQLFDWHGWRLWVPDVVLYHXVHUEDVHWKDW<RX7XEHKDG
% 2 , ( 6  6 & + , / / ( 5  ) / ( ; 1 ( 5  / / 3 




                                                                                         ³YHULILHG´WKHFKDQQHODVWKH³RIILFLDOFKDQQHO´RIWKHFUHDWRU$V<RX7XEHLWVHOIVWDWHV³>Y@HULILHG

                                                                                         FKDQQHOVKHOSGLVWLQJXLVKRIILFLDOFKDQQHOVIURPRWKHUFKDQQHOVZLWKVLPLODUQDPHV>@´
                                                       : $ 6 + , 1 * 7 2 1  '  & 




                                                                                                      <RX7XEH¶VYHULILFDWLRQRI0DUFR6W\OH¶VKDFNHGFKDQQHOLVDOOWKHPRUHVXUSULVLQJJLYHQ
                                                                                         WKHFRPSDQ\¶VUHSUHVHQWDWLRQWRWKHSXEOLFWKDWLW³ZRQ¶WYHULI\FKDQQHOVWKDWDUHWU\LQJWRLPSHUVRQDWH

                                                                                         DQRWKHUFUHDWRURUEUDQG´

                                                                                                      $QRWKHUH[DPSOHRI<RX7XEH¶VDVVLVWDQFHLVLWVYHULILFDWLRQRI<RX7XEHDFFRXQWVZKLFK
                                                                                         LVVHSDUDWHIURPLWVDZDUGLQJRIYHULILFDWLRQEDGJHVWRFKDQQHOV([7RYHULI\DQDFFRXQWRQH

                                                                                         HQWHUVDYHULILFDWLRQFRGHVHQWE\WH[WRUYRLFHFDOO$YHULILHGDFFRXQWFDQOLYHVWUHDPXSORDGYLGHRV

                                                                                         ORQJHUWKDQPLQXWHVDQGDGGFXVWRPWKXPEQDLOVWRYLGHRV6FDPPHUVKDYHXVHGDOOWKUHHRIWKHVH

                                                                                         SULYLOHJHVWRSURPRWHWKH6FDP

                                                                                                     3ODLQWLIIVGRQRWNQRZWKHDFWXDOQXPEHURIGHIUDXGHGYLFWLPV%XWRQLQIRUPDWLRQDQG
                                                                                         EHOLHI3ODLQWLIIVDOOHJHWKDWWKRXVDQGVRISHRSOHKDYHOLNHO\EHHQGHIUDXGHGRXWRIKXQGUHGVRIWKRXVDQGV

                                                                                         RIGROODUVRI;53WRGDWH LIQRWVXEVWDQWLDOO\PRUH 0RUHRYHUWKH6FDPFRQWLQXHVWRFDXVHZLGHVSUHDG

                                                                                         KDUPLQFOXGLQJE\LUUHSDUDEO\KDUPLQJ5LSSOH¶VEUDQGDQG0U*DUOLQJKRXVH¶VUHSXWDWLRQ

                                                                                                 '     <RX7XEHUHIXVHVWRVWRSWKH6FDP
                                                                                                      $VWKHWKUHDWSRVHGE\WKH6FDPJUHZWRZDUGVWKHHQGRI5LSSOHHQOLVWHGWKH

                                                                                         FRPSDQ\¶VWKLUGSDUW\F\EHUVHFXULW\YHQGRUWRSUHYHQWIXUWKHUGDPDJHWR5LSSOH¶VEUDQGDQG0U

                                                                                         *DUOLQJKRXVH¶VUHSXWDWLRQ

                                                                                        
                                                                                                                                             
                                                                                                                                          &203/$,17
                                                       Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 12 of 22




                                         1           46.    At Ripple’s direction, its vendor utilized a proprietary platform to rapidly detect, verify,

                                         2 and respond to new occurrences relating to the Scam.

                                         3           47.    Since November 2019, Ripple has submitted 49 takedown demands to YouTube that

                                         4 relate directly to the Scam. An additional 305 takedown demands were served on YouTube in

                                         5 connection with accounts and channels that were impersonating Mr. Garlinghouse or infringing on

                                         6 Ripple’s brand, likely for the purpose of monetizing the Scam.

                                         7           48.    YouTube ignored or otherwise failed to address many of these takedown demands.

                                         8 Where YouTube took action, it did so belatedly. The following is a representative sample of YouTube’s

                                         9 deficient responses:

                                        10     •     On November 12, 2019, Ripple submitted a takedown notice to YouTube regarding a hacked
L L P




                                                     YouTube channel with 21,600 subscribers that falsely claimed to be “Brad Garlinghouse [Ripple
                                        11           CEO]” and actively promoted the Scam. Ripple sent 13 additional takedown notices to
F L E X N E R




                                        12           YouTube in connection with this channel. The channel remained active for more than two
                  D . C .




                                                     months until finally being taken down on or around February 19, 2020.
                                        13
                                               •     On January 2, 2020, Ripple submitted a takedown notice to YouTube in connection with a
                  W A S H I N G T O N




                                        14           hacked YouTube channel belonging to YouTube creator Festinha do Rodil with 327,000
S C H I L L E R




                                                     subscribers. Ex. 12 at 5. YouTube took corrective action three weeks later on January 22, 2020.
                                        15

                                        16     •     On January 21, 2020, Ripple submitted a takedown notice to YouTube regarding a channel that
                                                     promoted the Scam. Ripple submitted 8 additional takedown notices to YouTube in connection
                                        17           with this channel. The channel remained active on YouTube until on or around March 18, 2020.
B O I E S




                                        18     •     On January 27, 2020, Ripple submitted a takedown notice to YouTube in connection with a
                                        19           hacked YouTube channel belonging to verified YouTube creator BestGuyEver with 96,400
                                                     subscribers. Ex. 13. The channel posted several videos promoting the Scam. YouTube delayed
                                        20           until February 3, 2020 to take corrective action.

                                        21           49.    Meanwhile, new iterations of the Scam continue to appear on YouTube, often amassing

                                        22 thousands of views and creating more victims by the day. For example, in the lead up to filing this

                                        23 Complaint, the following content was visible on YouTube:

                                        24     •     Content posted on March 19, 2020 by YouTube user “Ripple Inc” promoting the Scam. 3 As of
                                                     April 20, 2020, the video had been viewed 14,761 times.
                                        25

                                        26

                                        27
                                               3
                                        28         Available at: https://www.youtube.com/watch?v=v60eXopL3yI (last visited Apr. 20, 2020).
                                                                                              11
                                                                                           COMPLAINT
                                                     Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 13 of 22




                                         1

                                         2

                                         3

                                         4

                                         5     •   Content posted on April 11, 2020 by YouTube user “XRP Official” promoting the Scam. 4 Three
                                                   days later, the video had been viewed 1,710 times.
                                         6

                                         7

                                         8

                                         9

                                        10     •   Content posted on April 19, 2020, by YouTube user “Ripple Labs” promoting the Scam. 5 As of
L L P




                                                   April 20, 2020, the video had been streamed 20,385 times.
                                        11
F L E X N E R




                                        12
                  D . C .




                                        13
                  W A S H I N G T O N




                                        14
S C H I L L E R




                                        15

                                        16         50.    In addition to these specific remedial failures, YouTube has also failed entirely to take

                                        17 proactive steps to prevent the fraud from continuing to occur. As a result, new iterations of the Scam
B O I E S




                                        18 appear on YouTube almost every day.

                                        19         51.    A recent instance of the Scam—which occurred months after YouTube was put on

                                        20 notice—involves the YouTube channel of popular creator Mesa Sean. Mesa Sean controls a YouTube

                                        21 channel that had, at the time, 282,000 subscribers. On March 31, 2020, hackers took control of Mesa

                                        22 Sean’s YouTube channel, changed the name of the channel to “Ripple Foundation,” misappropriated

                                        23 Mr. Garlinghouse’s image, and began posting videos falsely promoting a fictitious XRP giveaway. 6

                                        24         52.    In another recent instance of the Scam in late March, a scammer hacked or created a

                                        25 YouTube channel named “Brad Garlinghouse” that misappropriated Mr. Garlinghouse’s name and

                                        26     4
                                                 Available at: https://www.youtube.com/watch?v=J5cLQvEGE1k (last visited Apr. 20, 2020).
                                               5
                                                 Available at: https://www.youtube.com/watch?v=svt-bmZeOto (last visited Apr. 20, 2020).
                                        27     6
                                                 Mesa Sean (@MesaSean), Twitter (Mar. 31, 2020, 12:32 PM), available at
                                        28 https://twitter.com/MesaSean/status/1245026128638730241  (last visited Apr. 14, 2020).
                                                                                            12
                                                                                         COMPLAINT
                                                     Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 14 of 22




                                         1 image, and began posting videos promoting the Scam. One concerned YouTube user attempted to

                                         2 notify YouTube of this instance of the Scam. Despite this notification, YouTube did not immediately

                                         3 take down the channel, and the next day the same YouTube user was receiving ads—promoted by

                                         4 YouTube through its “video discovery ads”—for a video on this fraudulent channel that already had

                                         5 85,000 views.

                                         6

                                         7

                                         8

                                         9

                                        10
L L P




                                        11
F L E X N E R




                                        12
                  D . C .




                                        13
                  W A S H I N G T O N




                                        14
S C H I L L E R




                                        15

                                        16

                                        17
B O I E S




                                        18

                                        19

                                        20

                                        21

                                        22

                                        23

                                        24

                                        25

                                        26         53.     Each instance of the Scam is substantially similar. The hacked YouTube accounts adopt

                                        27 a name that incorporates Ripple and/or Mr. Garlinghouse; they misappropriate Ripple trademarks or Mr.

                                        28 Garlinghouse’s likeness as their user “image”; they post video content relating to Ripple and/or Mr.
                                                                                           13
                                                                                        COMPLAINT
                                                        Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 15 of 22




                                         1 Garlinghouse; and they use the terms “XRP” and “Giveaway” prominently throughout the videos.

                                         2 There is no question that YouTube has the capacity to take down any and all accounts that carry the

                                         3 indicia of the Scam. What YouTube lacks is the will to do so.

                                         4         E.      YouTube’s deliberate inaction irreparably harms Ripple’s brand and Mr.
                                                           Garlinghouse’s reputation, and victimizes countless others.
                                         5

                                         6         54.     YouTube’s deliberate inaction has irreparably harmed—and continues to irreparably

                                         7 harm—Ripple’s brand and Mr. Garlinghouse’s reputation. YouTube’s inaction has also injured

                                         8 countless individuals who fell victim to the Scam. These harms will continue to grow in scope and

                                         9 severity absent intervention by the Court.

                                        10         55.     For the past several months, Ripple has received an onslaught of correspondence from
L L P




                                        11 victims demanding that Ripple take responsibility for the Scam, including by making them whole.
F L E X N E R




                                        12 Many of these messages ascribe culpability for the Scam to Ripple and Mr. Garlinghouse, and otherwise
                  D . C .




                                        13 demonstrate the reputational harm at stake:
                  W A S H I N G T O N




                                        14     •   A message asserting that the Scam involves “a youtube page made by Ripple” and that “[o]ur
                                                   trust over [Ripple] is questioned”;
S C H I L L E R




                                        15
                                               •   A message emphasizing the threat of “a big SCAM” and warning to “be carefull [sic] [of] your
                                        16         reputation”;
                                        17
                                               •   A message stating “that these kind of actions and pages [are] hurting your reputation as a
                                                   company” and that “you as a company should prevent these fraudulences”;
B O I E S




                                        18

                                        19     •   A message stating the Scam “is becoming an epidemic,” warning that the Ripple name will get
                                                   “hurt,” and accusing that “[n]othing is getting done about it, as more victims pile up”;
                                        20
                                               •   A message reporting a loss of XRP, noting that the Scam “cannot be good for the brand,” and
                                        21         demanding Ripple “take corrective action”;
                                        22
                                               •   A message asking if Ripple “tolerate[s] false accounts” before proclaiming that “Ripple itself is
                                        23         not reliable”;

                                        24     •   A message notifying Ripple of a hacked YouTube channel and stating that “many people are
                                                   blaming your company for hacking other user’s accounts”; and
                                        25

                                        26     •   A message accusing Ripple and Mr. Garlinghouse of being the entities responsible for the
                                                   hacking of popular YouTube channels.
                                        27

                                        28
                                                                                            14
                                                                                         COMPLAINT
                                                                                                      Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 16 of 22




                                                                                                       7KHUHDUHPDQ\PRUHH[DPSOHVRIVLPLODUPHVVDJHV7KHUHDUHPHVVDJHVWKUHDWHQLQJ

                                                                                          OHJDODFWLRQDJDLQVW5LSSOHDQGRWKHUVFRQWDFWLQJ5LSSOHWRFRQILUPZKHWKHUWKHILFWLRQDO³JLYHDZD\´LV

                                                                                          OHJLWLPDWH

                                                                                                       5HJUHWWDEO\WKH6FDP¶VFROODWHUDOGDPDJHH[WHQGVIDUEH\RQG5LSSOH¶VEUDQGDQG

                                                                                          UHSXWDWLRQ7KH6FDPKDVDOVRLQIOLFWHGDVXEVWDQWLDOUHSXWDWLRQDOLQMXU\RQ0U*DUOLQJKRXVHZKLFK

                                                                                          JURZVZRUVHE\WKHGD\

                                                                                                       )RUH[DPSOHLQ)HEUXDU\0U*DUOLQJKRXVH¶V:LNLSHGLDSDJHSURPLQHQWO\IHDWXUHGD

                                                                                          GLVFXVVLRQRIWKH6FDPDIDFWWKDWDWRQFHLOOXVWUDWHVDQGUHLQIRUFHVWR:LNLSHGLD¶VELOOLRQVRIXVHUVWKH

                                                                                          IDOVHQRWLRQWKDW0U*DUOLQJKRXVHLVDVVRFLDWHGZLWKWKH6FDP
% 2 , ( 6  6 & + , / / ( 5  ) / ( ; 1 ( 5  / / 3 




                                                                                        

                                                                                        
                                                       : $ 6 + , 1 * 7 2 1  '  & 




                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                                      6HSDUDWHO\0U*DUOLQJKRXVHKDVDOVRUHFHLYHGQXPHURXVSHUVRQDOLQTXLULHVIURP

                                                                                         LQGLYLGXDOVDVNLQJKLPWRFRQILUPRUFODULI\KLVDIILOLDWLRQZLWKWKH6FDP7KHVHUHTXHVWVDQGIDOVH

                                                                                         DVVRFLDWLRQVEHFDPHVRW\SLFDOWKDW0U*DUOLQJKRXVHZDVFRPSHOOHGWRDGGUHVVWKHPSXEOLFO\

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        

                                                                                        
                                                                                                                                             
                                                                                                                                          &203/$,17
                                                      Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 17 of 22




                                         1         60.     The harm to Ripple’s brand and Mr. Garlinghouse’s reputation is irreparable and

                                         2 unquantifiable. YouTube’s continued refusal to timely address the fraud perpetrated on its platform can

                                         3 and must be stopped.

                                         4                                          CLAIMS FOR RELIEF

                                         5                                        FIRST CLAIM FOR RELIEF

                                         6                                   Contributory Trademark Infringement

                                         7                                                15 U.S.C. § 1114(1)

                                         8         61.      Plaintiffs repeat and re-allege all allegations contained in paragraphs 1 through 60,

                                         9 inclusive, as though fully set forth herein.

                                        10         62.     Scammers have created fake accounts and/or used hacked accounts to infringe Ripple’s
L L P




                                        11 valid and protected trademarks. These fake and/or hacked accounts and their channels prominently
F L E X N E R




                                        12 display Ripple’s trademarks, so that the accounts falsely and misleadingly present to YouTube users as
                  D . C .




                                        13 official Ripple accounts.
                  W A S H I N G T O N




                                        14         63.     These fake and/or hacked accounts display and use—and therefore infringe upon—
S C H I L L E R




                                        15 several of Ripple’s protected trademarks, including “Ripple,” “Ripple Labs,” and Ripple’s triskelion

                                        16 logo. The trademarks often accompany CEO Brad Garlinghouse’s name and likeness and Ripple-related

                                        17 videos, such as interviews of Mr. Garlinghouse or other Ripple executives. The use of Ripple’s
B O I E S




                                        18 trademarks and Mr. Garlinghouse’s likeness in these accounts has caused customer confusion. This

                                        19 confusion has led individuals to fall victim to the Scam because they (erroneously) understood these

                                        20 accounts to be legitimate and formally affiliated with Ripple. This confusion will continue absent a

                                        21 court order.

                                        22         64.     YouTube also generates revenue from the infringing conduct, including after it was

                                        23 informed of the Scam. YouTube has sold—and will continue to sell—paid ads to the fraudsters engaged

                                        24 in the infringing conduct. When a YouTube user clicks on such a “video discovery ad,” he or she is

                                        25 taken directly to a YouTube channel that is running the Scam. YouTube thus profits from the

                                        26 infringement of Ripple’s marks.

                                        27         65.     YouTube knew, or had reason to know, that the hacked accounts infringed on Ripple’s

                                        28 trademarks. YouTube had actual knowledge of many fake and/or hacked accounts that were engaged in
                                                                                               16
                                                                                            COMPLAINT
                                                      Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 18 of 22




                                         1 the Scam by virtue of Ripple’s repeated takedown notices. Moreover, YouTube had and currently has

                                         2 constructive knowledge of the Scam because each iteration of the Scam was and is substantially similar

                                         3 to all the others, and Ripple alone has sent hundreds of takedown notices to YouTube dating back to

                                         4 November 2019.

                                         5         66.     Ripple, its security vendor, and/or Plaintiffs’ other agents have reported to YouTube that

                                         6 the hacked accounts are infringing on Ripple’s marks. Yet many accounts continue to infringe on

                                         7 Ripple’s protected marks while perpetuating and profiting from the Scam.

                                         8         67.     Many media sources have publicly reported that YouTube hosts fake Ripple accounts that

                                         9 perpetuate, promote, and profit from the Scam.

                                        10         68.     Owners of hacked YouTube accounts have publicized their plight on platforms such as
L L P




                                        11 Twitter and received responses from YouTube staff.
F L E X N E R




                                        12         69.     YouTube directly controls and monitors the instrumentality used by Scammers to
                  D . C .




                                        13 infringe Ripple’s trademarks. That instrumentality is the YouTube platform, which hosts, displays,
                  W A S H I N G T O N




                                        14 filters, and develops in part the infringing accounts and videos.
S C H I L L E R




                                        15         70.     YouTube can and regularly does remove accounts, channels, and videos from its platform

                                        16 for trademark infringement.

                                        17         71.     YouTube monitors its platform for trademark infringement through algorithms and
B O I E S




                                        18 human review.

                                        19         72.     Despite its knowledge and ability to ban trademark infringers and remove infringing

                                        20 content, YouTube continues to provide its platform and services to the Scammers.

                                        21         73.     YouTube thus is liable for contributory trademark infringement under Lanham Act § 32,

                                        22 15 U.S.C. § 1114(1).

                                        23         74.     Plaintiff seeks injunctive relief to halt YouTube’s contributory infringement, which

                                        24 irreparably harms Plaintiffs and has no adequate remedy at law. Plaintiffs also request any and all

                                        25 available damages.

                                        26                                      SECOND CLAIM FOR RELIEF

                                        27                  Statutory and Common Law Misappropriation of the Right of Publicity

                                        28                                           Cal. Civil Code § 3344
                                                                                            17
                                                                                         COMPLAINT
                                                      Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 19 of 22




                                         1         75.      Plaintiffs repeat and re-allege all allegations contained in paragraphs 1 through 74,

                                         2 inclusive, as though fully set forth herein.

                                         3         76.     Many hacked accounts purport to be official accounts of Ripple’s CEO, Plaintiff Brad

                                         4 Garlinghouse. They appropriate his identity by displaying his name, photo, likeness, and videotaped

                                         5 interviews of him.

                                         6         77.     Scammers use Mr. Garlinghouse’s identity to solicit people to transfer XRP or other

                                         7 cryptocurrencies in furtherance of the Scam.

                                         8         78.     Moreover, YouTube itself uses these accounts—and the videos they post—to increase

                                         9 traffic to its platform and to serve advertisements that generate revenue for YouTube. YouTube has also

                                        10 sold advertising space directly to the bad actors perpetrating the Scam.
L L P




                                        11         79.     Mr. Garlinghouse has not consented to YouTube’s use of his likeness on the hacked
F L E X N E R




                                        12 accounts and their channels. And Mr. Garlinghouse and/or his agents have informed YouTube of his
                  D . C .




                                        13 non-consent.
                  W A S H I N G T O N




                                        14         80.     Many media sources have publicly reported that hacked YouTube accounts have
S C H I L L E R




                                        15 appropriated Mr. Garlinghouse’s likeness.

                                        16         81.     YouTube thus knows that the operators of hacked accounts are violating Mr.

                                        17 Garlinghouse’s right to publicity.
B O I E S




                                        18         82.     YouTube also gives these hacked accounts substantial assistance or encouragement by

                                        19 hosting, displaying, recommending, and developing in part the accounts and their videos.

                                        20         83.     For example, YouTube awarded a verification badge to at least one hacked channel that

                                        21 appropriated a photo portrait of Mr. Garlinghouse for its profile picture (a.k.a. channel icon). A

                                        22 verification badge communicates, among other things, that a channel “represent[s] the real creator,

                                        23 brand, or entity it claims to be” because YouTube has “check[ed] different factors to help verify [the

                                        24 channel owner’s] identity.” Ex. 10. Through this communicative conduct, YouTube is responsible for

                                        25 the creation, development, and presentation of new content and information to its users.

                                        26         84.     YouTube has thus violated, and continues to violate, Mr. Garlinghouse’s right of

                                        27 publicity under both California Civil Code § 3344(a) and the common law.

                                        28
                                                                                             18
                                                                                          COMPLAINT
                                                      Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 20 of 22




                                         1         85.     This ongoing violation irreparably harms Mr. Garlinghouse’s reputation and Ripple’s

                                         2 goodwill, which Plaintiffs have been committed to protecting and developing.

                                         3         86.     The irreparable harm to Mr. Garlinghouse’s reputation is evidenced by victim

                                         4 complaints, news articles, and false associations suggested on Wikipedia, amongst other sources.

                                         5         87.     Plaintiffs thus seek injunctive relief to halt this irreparable harm, for which there is no

                                         6 adequate remedy at law.

                                         7         88.     Plaintiffs also request any and all available damages.

                                         8                                        THIRD CLAIM FOR RELIEF

                                         9                             Violations of California’s Unfair Competition Law

                                        10                             California Business & Professions Code § 17200
L L P




                                        11         89.      Plaintiffs repeat and re-allege all allegations contained in paragraphs 1 through 88,
F L E X N E R




                                        12 inclusive, as though fully set forth herein.
                  D . C .




                                        13         90.     YouTube engages in contributory trademark infringement and violations of the statutory
                  W A S H I N G T O N




                                        14 and common law rights of publicity. These are each unlawful business practices under California
S C H I L L E R




                                        15 Business and Professions Code § 17200.

                                        16         91.     By providing substantial assistance and encouragement to hacked accounts perpetrating

                                        17 the Scam, YouTube also engages in fraudulent business practices under § 17200.
B O I E S




                                        18         92.     The hacked accounts commit fraud by soliciting people to send XRP to a virtual currency

                                        19 wallet in exchange for a benefit that does not materialize.

                                        20         93.     YouTube knows these accounts commit fraud because it has seen media reports and

                                        21 received takedown demands from Plaintiffs, owners of hacked accounts, and Scam victims.

                                        22         94.     YouTube gives substantial assistance or encouragement to the fraud by hosting,

                                        23 displaying, recommending, and developing in part the hacked accounts and their videos.

                                        24         95.     YouTube also gives substantial assistance or encouragement to the Scam by selling

                                        25 “video discovery ads” to the bad actors who control and operate the hacked and/or fake accounts

                                        26 impersonating Ripple and/or Mr. Garlinghouse. By selling such ads, YouTube ensures that more

                                        27 YouTube users will engage with the hacked and/or fake accounts, thereby increasing the Scam’s reach.

                                        28
                                                                                              19
                                                                                           COMPLAINT
                                                        Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 21 of 22




                                         1         96.     For example, YouTube has vouched for at least one hacked account by awarding its

                                         2 channel a verification badge. This communicated to YouTube’s vast viewership that the channel was an

                                         3 authentic and official channel belonging to Ripple and/or Mr. Garlinghouse. This promoted the false

                                         4 belief that the hacked YouTube accounts could be trusted.

                                         5         97.     YouTube’s conduct also constitutes unfair business practices under § 17200.

                                         6         98.     YouTube’s unlawful, fraudulent, and unfair business practices irreparably harm

                                         7 Plaintiffs, who seek injunctive relief because there is no adequate remedy at law, and because an

                                         8 injunction “may be necessary to prevent the use or employment by any person of any practice which

                                         9 constitutes unfair competition.” Cal. Bus. & Prof. Code § 17203.

                                        10         99.     Plaintiffs further seek any and all available damages awards, including restitution.
L L P




                                        11                                         PRAYER FOR RELIEF
F L E X N E R




                                        12         WHEREFORE, Plaintiffs pray for the following relief:
                  D . C .




                                        13         A.      For injunctive relief, as follows: A preliminary and permanent injunction enjoining and
                  W A S H I N G T O N




                                        14 restraining Defendant YouTube, and all persons or entities in concert with them, during the pendency of
S C H I L L E R




                                        15 this action and perpetually thereafter from:

                                        16                 1.     Violating and providing assistance in violation of the Lanham Act, in connection

                                        17 with Ripple’s protected marks;
B O I E S




                                        18                 2.     Refusing to apply its content regulation and moderation screening tools to prevent

                                        19 the Scam from being perpetuated;

                                        20                 3.     Ignoring and delaying its response(s) to takedown notices concerning the Scam;

                                        21                 4.     Profiting off of the Scam in any manner, including through the receipt of monies

                                        22 for paid advertisements and/or through the delivery of advertisements to accounts and channels that

                                        23 infringe on Ripple’s marks;

                                        24                 5.     Verifying accounts perpetuating the Scam;

                                        25                 6.     Awarding fraudulent channels verification badges; and

                                        26                 7.     Violating and providing assistance in the violation of Mr. Garlinghouse’s right of

                                        27 publicity, in connection with accounts or channels perpetuating the Scam.

                                        28
                                                                                             20
                                                                                          COMPLAINT
                                                        Case 3:20-cv-02747-LB Document 1 Filed 04/21/20 Page 22 of 22




                                         1         B.      An award to Plaintiffs of damages, including but not limited to, compensatory, statutory,

                                         2 and punitive damages, as permitted by law and in such amounts to be proven at trial.

                                         3         C.      For a recovery in restitution equal to any unjust enrichment enjoyed by Defendant

                                         4 YouTube.

                                         5         D.      An award to Plaintiffs of reasonable costs, including reasonable attorneys’ fees.

                                         6         E.      For pre- and post-judgment interest as allowed by law.

                                         7         F.      For any such other relief as the Court may deem just and proper.

                                         8

                                         9 Dated: April 21, 2020                               Respectfully Submitted,

                                        10
L L P




                                                                                               By: /s/ Mark C. Mao
                                        11                                                        Damien J. Marshall (pro hac vice forthcoming)
F L E X N E R




                                                                                                     dmarshall@bsfllp.com
                                        12
                  D . C .




                                                                                                  BOIES SCHILLER FLEXNER LLP
                                                                                                  55 Hudson Yards, 20th Floor
                                        13                                                        New York, NY 10001
                                                                                                  Telephone: (212) 446-2300
                  W A S H I N G T O N




                                        14                                                        Facsimile: (212) 446-2350
S C H I L L E R




                                        15                                                         Mark C. Mao (SBN 236165)
                                                                                                     mmao@bsfllp.com
                                        16                                                         Matthew Chou (SBN 325199)
                                                                                                     mchou@bsfllp.com
                                        17                                                         BOIES SCHILLER FLEXNER LLP
                                                                                                   44 Montgomery Street, 41st Floor
B O I E S




                                        18                                                         San Francisco, CA 94104
                                                                                                   Telephone: (415) 293-6800
                                        19                                                         Facsimile: (415) 293-6899
                                        20                                                         Menno Goedman (SBN 301271)
                                                                                                     mgoedman@bsfllp.com
                                        21                                                         BOIES SCHILLER FLEXNER LLP
                                                                                                   1401 New York Avenue, N.W.
                                        22                                                         Washington, D.C. 20005
                                                                                                   Telephone: (202) 237-2727
                                        23                                                         Facsimile: (202) 237-6131
                                        24
                                                                                               Attorneys for Plaintiffs Ripple Labs Inc.
                                        25                                                     and Bradley Garlinghouse

                                        26

                                        27

                                        28
                                                                                            21
                                                                                         COMPLAINT
